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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 LYNN STARKEY,                       )
                                     )
       Plaintiff,                    )
                                     )
       v.                            )    Case No. 1:19-cv-03153-RLY-TAB
                                     )
 RONCALLI HIGH SCHOOL, INC.,         )
 and ROMAN CATHOLIC                  )
 ARCHDIOCESE OF                      )
 INDIANAPOLIS, INC.                  )
                                     )
       Defendants.                   )




                         BRIEF IN SUPPORT OF
                MOTION FOR JUDGMENT ON THE PLEADINGS
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                                   INTRODUCTION

    If separation of church and state means anything, it means religious organizations

 must have “autonomy to shape their own missions, conduct their own ministries, and

 generally govern themselves in accordance with their own doctrines as religious in-

 stitutions.” Korte v. Sebelius, 735 F.3d 654, 677 (7th Cir. 2013).

    Congress has long recognized this principle of religious autonomy by including

 broad religious exemptions in federal antidiscrimination laws like Title VII and Title

 IX—guaranteeing that religious organizations can hire “only those committed to”
 their shared “religious mission.” Corp. of the Presiding Bishop of the Church of Jesus

 Christ of Latter-day Saints v. Amos, 483 U.S. 327, 342 (1987) (Brennan, J., concur-

 ring). The Supreme Court has gone further, emphasizing that the government must

 be particularly wary of “excessive governmental entanglement in the affairs of the

 church-operated schools,” given that “the raison d'être of parochial schools is the prop-

 agation of a religious faith.” NLRB v. Catholic Bishop of Chi., 440 U.S. 490, 501, 503

 (1979) (quoting Lemon v. Kurtzman, 403 U.S. 602, 628 (1971)). And the Court specif-

 ically highlighted this principle in the context of same-sex marriage, noting that “re-

 ligious organizations” (such as schools) must be given “proper protection as they seek

 to teach the principles that are so fulfilling and so central to their lives and faiths,”

 and “to advocate with utmost, sincere conviction that, by divine precepts, same-sex

 marriage should not be condoned.” Obergefell v. Hodges, 135 S. Ct. 2584, 2607 (2015).

    The question in this case is whether the Catholic Church will be able to continue

 conveying its millennia-old beliefs about marriage and sexuality in a comprehensive

 way throughout its religious institutions, or whether antidiscrimination laws will in-

 stead be distorted to punish the Church for asking its employees to be “committed to

 [its] mission.” Amos, 483 U.S. at 342 (Brennan, J., concurring).

    Plaintiff Lynn Starkey led the guidance department at a Catholic high school,

 where she exercised significant influence over Catholic students. As a condition of


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  working at the school, she signed a “Ministry Contract” agreeing to “convey and be

  supportive of the teachings of the Catholic Church” and acknowledging that she

  would be in violation of her contract if she engaged in “any personal conduct or life-

  style at variance with the policies of the Archdiocese or the moral or religious teach-

  ings of the Roman Catholic Church”—including any “[r]elationship[ ] … contrary to a

  valid marriage as seen through the eyes of the Catholic Church.”

     Ms. Starkey knowingly violated her contract by entering a same-sex union in vio-

  lation of Church teaching. When the Archdiocese declined to renew her contract, she
  brought this lawsuit, alleging that the Church’s requirement that its representatives

  support Church teaching violates federal nondiscrimination and state tort law. Un-

  surprisingly, her claims are barred, not only by bedrock First Amendment principles

  but by the text of the statutes on which she bases her claims.

     First, both Title VII and Title IX have religious exemptions that foreclose this

  action on the pleadings. Title VII permits a religious employer to make decisions

  based on an employee’s “religious observance and practice, as well as belief.” 42

  U.S.C. § 2000e(j). And Title IX doesn’t apply to religious schools where application

  would “not be consistent” with the school’s “religious tenets.” 20 U.S.C. § 1681(a)(3).

  The parties agree that the decision here was based on disagreement about Catholic

  religious practices on marriage. That is a legitimate, nondiscriminatory reason to not

  renew the contract of an educational leader in a Catholic school, and it is explicitly

  protected by statute.

     The First Amendment also bars this action; indeed, multiple lines of doctrine lim-

  iting state interference with religious organizations converge in this case. First, reli-

  gious-autonomy doctrine forbids the government from forcing a religious organization

  to employ a person, particularly in a leadership role, who rejects its teaching. Second,

  because Starkey’s discrimination claims turn on her view that the Church treated

  her same-sex union worse than “other” violations of Church teaching, she can prevail


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  only if the Court can weigh the gravity of different Church teachings—a quintessen-

  tially theological inquiry both Religion Clauses bar courts from undertaking. Third,

  freedom of association protects the ability of religious and secular expressive organi-

  zations alike to exclude an employee who would undermine the group’s message.

  These interlocking constitutional problems bar all of Starkey’s claims; at a minimum,

  they raise grave constitutional-avoidance concerns that require giving Title VII and

  Title IX’s limiting provisions full effect.

      Nothing discovery could reveal would cure these fundamental flaws in Starkey’s

  case. Thus, all of her claims must be dismissed on the pleadings.

                                FACTUAL BACKGROUND 1
      A. Starkey’s role in the Archdiocese

      Defendants are the Roman Catholic Archdiocese of Indianapolis and Roncalli

  Catholic High School. The Archdiocese is a constituent entity of the Roman Catholic

  Church and is headed by Archbishop Charles C. Thompson. Compl. ¶ 36, Dkt. 1. The

  Archbishop is charged with “dispens[ing] … the mysteries of God” to the faithful

  within his geographical area, “govern[ing] the particular church entrusted to him,”

  and “protect[ing] the unity of the universal Church” in observance of Church law.

  Code of Canon Law, Canons 387, 391-392. He “has the right to watch over and visit

  the Catholic schools in his territory,” and he has the duty to ensure that the education



  1 In evaluating a Rule 12(c) motion, the Court may consider, in addition to the pleadings
  themselves, (1) documents “incorporated by reference in the pleadings”; or (2) “public” infor-
  mation subject to “judicial notice.” Orgone Capital III, LLC v. Daubenspeck, 912 F.3d 1039,
  1044 (7th Cir. 2019). As referenced here, Starkey’s employment contract (attached in part as
  Exhibits 1 and 2) is incorporated by reference in the pleadings. See Compl. ¶¶ 24-25, Dkt. 1.
  Roncalli’s Articles of Incorporation (attached as Exhibit 3) are on file with the Indiana Sec-
  retary of State’s office and may be judicially noticed. Overall v. Ascension, 23 F. Supp. 3d 816,
  825 (E.D. Mich. 2014). The Catholic Church’s Code of Canon Law is a source of law, not fact,
  and in any event is publicly available on the Vatican’s website (http://bit.ly/2WmgBTu) and
  may be judicially noticed. See El-Hajjami v. United Med. Ctrs., No. 13-cv-70, 2015 WL
  11545025, at *17 (W.D. Tex. Apr. 1, 2015).


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  in Catholic schools is “grounded in the precepts of Catholic doctrine” and that teach-

  ers are “outstanding in correct doctrine and integrity of life.” Id., Canon 803 § 2, 806.

     Roncalli is a ministry of the Archdiocese. Compl. ¶ 13; Answer ¶ 13, Dkt. 20. Its

  purpose is to “support[] and … further[] the mission and purposes of” the Archdiocese,

  through “faith formation, education and instruction of” its students. Ex. 3 ¶ 2.1.

     Plaintiff Lynn Starkey worked at Roncalli for over 39 years in various capacities,

  including as a guidance counselor and Co-Director of the Guidance Department.

  Compl. ¶ 14; see Answer ¶ 14 (clarifying that additional positions referred to but not

  named included religion teacher, music teacher, drama teacher, and choral director).

  Each year, she was employed pursuant to a one-year employment contract that ex-

  pired at the end of the school year. Compl. ¶ 23; Answer ¶ 23. At the time this dispute

  arose, Starkey was employed as Co-Director of Guidance at Roncalli. Compl. ¶ 13;

  Answer ¶ 13.

     Catholic schools “strive for complete formation of the human person,” focusing not

  just on academics but on developing students’ faith and “moral … talents” in a man-

  ner “grounded in the principles of Catholic doctrine.” Code of Canon Law, Canons

  795, 803 § 2. This objective was incorporated into Starkey’s written employment con-

  tract, which provided that school guidance counselors are “expected to be role models

  and are expressly charged with leading students toward Christian maturity and with

  teaching the Word of God.” Ex. 2 ¶ V.A; see Ex. 1 ¶ 4. The contract thus specified that

  “the personal conduct of every school guidance counselor, … both at school and away

  from school, must convey and be supportive of the teachings of the Catholic Church”—

  including “the belief that all persons are called to respect human sexuality and its

  expression in the Sacrament of Marriage.” Ex. 2 ¶ V.A.

     Consistent with these requirements, Starkey agreed in the contract that she

  would be in default if she engaged in conduct inconsistent with Church teaching, in-

  cluding on marriage. Compl. ¶ 24; Answer ¶ 24. The contract provided:


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        6. Defaults. The School Guidance Counselor shall be deemed to be in
           default under this contract in the event of any [of] the following:
            …
                i.    Relationships that are contrary to a valid marriage as seen
                      through the eyes of the Catholic Church; and
                j.    … any personal conduct or lifestyle at variance with the
                      policies of the Archdiocese or the moral or religious teach-
                      ings of the Roman Catholic Church.

  Ex. 1. ¶ 6. The Catholic Church teaches that marriage is a “covenant” between “a man

  and a woman.” Code of Canon Law, Canon 1055 § 1.

     The contract also designated Starkey as “a minister of the faith.” Ex. 2 ¶ II. The

  first listed role in her “Ministry Description” was “facilitat[ing] faith formation.” Id.

  ¶ III (capitalization altered). She was to do this by, among other things, “communi-

  cat[ing] the Catholic faith to students and families through implementation of the

  school’s guidance curriculum” and “convey[ing] the Church’s message and carr[ying]

  out its mission by modeling a Christ-centered life.” Id. (capitalization altered).

     B. This dispute

     In August 2018, the Archdiocese learned that Starkey’s Co-Director of Guidance,

  Shelly Fitzgerald, had obtained a marriage license with a same-sex partner. Compl.

  ¶¶ 28-29; Answer ¶¶ 28-29. On August 12, Fitzgerald was placed on administrative

  leave. Compl. ¶ 32; Answer ¶ 32.

     The following day (August 13), Starkey attended a meeting with the Archbishop,

  the Superintendent of Archdiocesan Schools, a priest specializing in canon law, and

  Roncalli’s leadership. Compl. ¶ 36; Answer ¶ 36. At that meeting, the canon-law spe-

  cialist discussed “the purpose of marriage” “under Catholic Church teachings,” and

  Starkey asked “why gay marriage was such a hot button issue, compared to other

  ‘sins.’” Compl. ¶¶ 37-38; Answer ¶¶ 37-38. Starkey states that she “oppos[ed]” the

  Archdiocese’s application of religious standards to Fitzgerald. Compl. ¶¶ 60, 73.




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     The next day (August 14), Starkey drafted and shared written remarks with Ron-

  calli’s principal, asking whether it would “be useful for her to read [her remarks] at

  the upcoming Administrative Council meeting, so [Roncalli’s leadership] could under-

  stand what it was like to work at Roncalli as a gay person.” Compl. ¶ 39; Answer ¶ 39.

  According to Starkey, the principal then “asked Starkey whether she had a civil un-

  ion,” to which “Starkey answered, ‘yes.’” Compl. ¶ 39.

     After the 2018–19 school year, Roncalli notified Starkey that because her same-

  sex civil union “violat[ed her] contract and [was] contrary to the teaching of the Cath-

  olic Church,” her contract would not be renewed for the following year. Compl. ¶ 45;

  Answer ¶ 45.

     On July 29, 2019, Starkey sued the Archdiocese and Roncalli (hereinafter “the

  Archdiocese,” except in Part II.A.2) asserting six claims: unlawful termination under
  Title VII (Count I); retaliation under Title VII (Count II); hostile work environment

  under Title VII (Count III); retaliation under Title IX (Count IV); a tort claim for

  interference with contract (Count V); and a tort claim for interference with an em-

  ployment relationship (Count VI). Compl. ¶¶ 48-92.

                               STANDARD OF REVIEW

     A motion for judgment on the pleadings under Rule 12(c) is governed by the same

  standards as a motion to dismiss under Rule 12(b)(6). Adams v. City of Indianapolis,

  742 F.3d 720, 727-28 (7th Cir. 2014). A claim should therefore be dismissed if the

  complaint fails to “state a ‘plausible’ claim for relief.” Indep. Trust Corp. v. Stewart

  Info. Servs. Corp., 665 F.3d 930, 934 (7th Cir. 2012) (quoting Ashcroft v. Iqbal, 556

  U.S. 662, 679 (2009)). For example, a claim fails if it “sets out all of the elements of

  an affirmative defense.” Id. at 935.

                                         ARGUMENT

     The Supreme Court has long recognized that disputes between a religious organ-

  ization and its employees can raise significant First Amendment issues. Amos, 483


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  U.S. at 335-36; Serbian E. Orthodox Diocese v. Milivojevich, 426 U.S. 696, 715-20

  (1976). Sometimes the First Amendment issue is resolved based on the function the

  employee plays within the religious organization. For example, under the “ministerial

  exception,” the Supreme Court has held that if an employee is a “minister”—a legal

  term of art that often includes educators in religious schools—the employee cannot

  sue to get her job back, even if there was no “religious reason” for the employment

  decision. Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S.

  171, 194-95 (2012).
     Other times the First Amendment issue is resolved based on the “religious reason”

  for the employment decision. For example, federal employment laws like Title VII

  and Title IX expressly protect the right of religious organizations to make hiring de-

  cisions based on religious reasons. And several overlapping First Amendment doc-

  trines likewise protect the ability of religious groups to “create and maintain commu-

  nities composed solely of individuals faithful to their doctrinal practices, whether or

  not every individual plays a direct role in the organization[’]s religious activities.”

  Curay-Cramer v. Ursuline Acad. of Wilmington, Delaware, Inc., 450 F.3d 130, 141 (3d

  Cir. 2006) (quoting Little v. Wuerl, 929 F.2d 944, 951 (3d Cir. 1991)).

     This case involves both types of First Amendment issues. First, as the Archdiocese

  will show in a separate motion for summary judgment (if needed), Starkey was a

  minister for ministerial-exception purposes; she played a crucial role in transmitting

  the Catholic faith to the next generation, held the title of a minister, was trained as

  a minister, and held herself out as a minister. However, for purposes of this motion,

  the court need not inquire into whether Starkey was a minister, because the reason

  for Starkey’s nonrenewal is made clear on the face of the complaint and is undisput-

  edly religious: The Archdiocese declined to renew her contract because she defied its




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  teachings on marriage and sexuality. That employment decision is protected by mul-

  tiple, overlapping statutory and constitutional provisions, which can be resolved

  based solely on the pleadings.

     First, both Title VII and Title IX expressly protect the right of religious organiza-

  tions to limit employment to individuals who adhere to their religious tenets. Second,

  the religious-autonomy doctrine, which is rooted in the Religion Clauses, prohibits

  civil courts from interfering in a religious organization’s decision about who meets

  religious qualifications for membership or employment. Third, the Religion Clauses’

  rule against judicial entanglement in religious questions forecloses Starkey’s invita-

  tion to have this Court weigh the significance of different violations of Church teach-

  ing. Finally, the freedom of association protects the ability of an expressive associa-

  tion like the Archdiocese here to disaffiliate with a person whose presence in the

  group would undermine the group’s message.

     Any one of these doctrines would suffice to require dismissal of Starkey’s claims;

  all foreclose them here. Because Starkey’s claims on their face would trample on the

  “boundary between two separate polities, the secular and the religious,” Korte, 735

  F.3d at 677, they fail on the pleadings.
  I. Starkey’s federal claims are barred under Title VII and Title IX.
     Starkey’s Title VII and Title IX claims (Counts I-IV) are barred on their face by

  the statutes themselves. Title VII’s religious exemptions permit religious organiza-

  tions to make hiring decisions based on an employee’s religious beliefs and conduct.

  And in any event, Starkey’s knowing breach of the contract’s morals clause was a

  legitimate, nondiscriminatory reason for nonrenewal.

     Starkey’s Title IX claim is preempted by Title VII. But even if it weren’t, Title IX

  also contains a religious exemption allowing religious schools to conduct their affairs

  consistent with their beliefs. Finally, neither statute prohibits the “sexual orienta-

  tion” discrimination that is the basis of Starkey’s claims.


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        A. Title VII does not apply to decisions by religious employers based
           on an employee’s religious observances and practices.
     Title VII exempts religious organizations like the Archdiocese from claims based

  on the application of religious employment standards. The relevant exemptions ap-

  pear in two sections of the statute. First, § 702(a) of Title VII provides an exemption

  applicable to all religious employers:
        This subchapter shall not apply to … a religious corporation, association,
        educational institution, or society with respect to the employment of in-
        dividuals of a particular religion to perform work connected with the
        carrying on by such corporation, association, educational institution, or
        society of its activities.
  42 U.S.C. § 2000e-1(a). Second, § 703(e)(2) provides that even schools that aren’t

  “owned, supported, controlled, or managed by a particular religion or … religious cor-

  poration” may “hire and employ employees of a particular religion” if their “curricu-

  lum … is directed toward the propagation of a particular religion.” 42 U.S.C. § 2000e-

  2(e)(2). Defendants here are themselves “a religious corporation” and a religious “ed-

  ucational institution.” Compl. ¶¶ 2, 13; Answer ¶¶ 2, 13. So, while both exemptions

  apply, this motion focuses on § 702(a).

     That exemption bars all of Starkey’s Title VII claims. Congress enacted § 702(a)

  to protect “the ability of religious organizations to define and carry out their religious
  missions.” Amos, 483 U.S. at 339. It therefore “painted with a broad[ ] brush,” Ken-
  nedy v. St. Joseph’s Ministries, Inc., 657 F.3d 189, 194 (4th Cir. 2011), in three ways

  important here.

     First, the exemption applies to all Title VII claims—not just claims of discrimina-

  tory hiring and firing. Id. at 193-94; see also, e.g., Garcia v. Salvation Army, 918 F.3d

  997, 1006 (9th Cir. 2019). The “subchapter” the exemption covers is Title VII itself.

  Kennedy, 657 F.3d at 194. Thus, Starkey’s “three [Title VII] claims—discharge, har-

  assment, and retaliation”—are “all” barred if the exemption applies. Id. at 193-94; see

  Garcia, 918 F.3d at 1006 (“The ‘entire subchapter’ of Title VII includes protections



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  against retaliation and discriminatory harassment amounting to a hostile work envi-

  ronment.”); accord Crotteau v. St. Coletta of Wis., 200 F. Supp. 3d 804, 811 (W.D.

  Wisc. 2016) (exemption “likely also applies to claims for hostile work environment

  based on religion” (citing Kennedy)).

     Second, the exemption applies to “all employees”—not just those “engaged in ‘re-

  ligious activities.’” Little, 929 F.2d at 950; see also Amos, 483 U.S. at 330 (case involv-

  ing a building engineer). Thus, while the evidence in this case would ultimately show

  that Starkey did have religious duties, that is irrelevant for purposes of § 702(a).

     Third, the exemption protects an employer’s ability to make employment decisions

  based on an employee’s “conduct,” not just her beliefs or formal religious affiliation.

  Kennedy, 657 F.3d at 194 (quoting Little, 929 F.2d at 951). The exemption allows

  religious employers to limit hiring to individuals of a “particular religion.” 42 U.S.C.

  § 2000e-1(a). And Title VII defines “religion” not in the colloquial sense of mere affil-

  iation, but broadly to “include[ ] all aspects of religious observance and practice, as
  well as belief.” Little, 929 F.2d at 950 (quoting 42 U.S.C. § 2000e(j)) (emphasis added).

  “[D]ecision[s] to employ individuals ‘of a particular religion’” under § 702(a), then,

  “include the decision to terminate an employee whose conduct or religious beliefs are

  inconsistent with those of its employer.” Kennedy, 657 F.3d at 192 (quoting Hall v.

  Baptist Mem’l Health Care Corp., 215 F.3d 618, 624 (6th Cir. 2000)); see also Killinger

  v. Samford Univ. 113 F.3d 196, 200 (11th Cir. 1997) (“[Section 702(a)] allows religious

  institutions to employ only persons whose beliefs are consistent with the em-

  ployer’s….”). So when a religious employer decides, based on its religious beliefs, that

  it will employ only individuals whose “religious observance and practice” align with

  its own, Title VII does not apply. See EEOC v. Miss. Coll., 626 F.2d 477, 485 (5th Cir.

  1980) (also finding First Amendment barred inquiry into whether plausible religious

  reason was a “pretext”); Stephanie N. Phillips, A Text-Based Interpretation of Title

  VII’s Religious-Employer Exemption, 20 Tex. Rev. L. & Pol. 295, 312 (2016).


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     The Third Circuit’s decision in Curay-Cramer is illustrative. There, a Catholic

  school dismissed a teacher for engaging in pro-choice advocacy in violation of Catholic

  teaching. 450 F.3d at 132. The teacher then sued the school under Title VII for sex

  discrimination, alleging that the school had treated her more harshly than male

  teachers who had violated other Catholic teachings. Id. The court, however, held that

  her claim must be dismissed at the pleadings stage based on Title VII’s religious-

  school exemption. As the Third Circuit explained, “Congress intended the explicit ex-

  emptions of Title VII to enable religious organizations to create and maintain com-

  munities composed solely of individuals faithful to their doctrinal practices.” Id. at

  141 (quoting Little, 929 F.2d at 951). Because the school had “offer[ed] a religious

  justification” for its decision—that the teacher had violated Church doctrine by pro-

  moting abortion—the teacher’s claim was barred, even though the claim complained

  of sex (rather than religious) discrimination. Id.; see also Maguire v. Marquette Univ.,

  627 F. Supp. 1499, 1502-04 (E.D. Wisc. 1986) (applying exemption to sex-discrimina-

  tion claim; “There is no question but that the government has a significant interest

  in eradicating sex discrimination. But as Title VII and the First Amendment recog-

  nize, the right to exercise religious faith free of governmental interference is funda-
  mental.”), aff’d in part and vacated in part, 814 F.2d 1213 (7th Cir. 1987).

     Applied here, § 702(a) bars all of Starkey’s Title VII claims. It’s undisputed that

  the Archdiocese had a religious justification for declining to renew Starkey’s contract:

  it did so because her same-sex union was “contrary to the teaching of the Catholic

  Church.” Compl. ¶ 45; Answer ¶ 45. Starkey attacks the Church’s teaching on mar-

  riage as itself discriminatory. But she does not (and cannot) dispute the facts that

  trigger § 702(a): Her contract wasn’t renewed because her “particular religion,” 42

  U.S.C. § 2000e-1(a)—as manifested in her entering a same-sex union and rejecting

  Church teaching—was “inconsistent with” the Archdiocese’s. Kennedy, 657 F.3d at

  192; see also Carl H. Esbeck, Federal Contractors, Title VII, and LGBT Employment


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  Discrimination: Can Religious Organizations Continue to Staff on a Religious Basis?,

  4 Oxford J.L. & Relig. 368, 376 (2015) (“[T]here is no limitation that turns on the

  mere chance that the employee-plaintiff complains of religious discrimination as op-

  posed to claiming under some other protected class such as sex.”).

     Starkey’s hostile-work-environment and retaliation claims are also foreclosed by

  § 702(a). The only actions alleged as creating the hostile work environment are the

  Archdiocese’s articulation and application of its beliefs on marriage—the same pro-

  tected conduct underlying Starkey’s discriminatory-discharge claim. Compl. ¶¶ 36-

  39. Similarly, the alleged “retaliation” is based on Starkey’s “oppos[ing the Archdio-

  cese’s] actions” in placing Starkey’s former Co-Director of Guidance at Roncalli,

  Shelly Fitzgerald, on administrative leave after learning of Fitzgerald’s same-sex un-

  ion. Compl. ¶ 60; see also id. ¶¶ 27-32. But that’s just another way of saying that the

  Archdiocese took action against Starkey because she “oppos[ed]” its views on same-

  sex unions—which, again, is precisely what § 702(a) allows. “Because [§ 702(a)] per-

  mits religious organizations” to dismiss employees whose beliefs or conduct are in-

  consistent with the organization’s religion, retaliation claims based on opposition to

  such actions fail “because the practice ‘opposed’ is not ‘unlawful.’” Garcia, 918 F.3d at
  1006 (quoting 42 U.S.C. § 2000e-3(a)).

     “Congress intended the explicit exemptions to Title VII to enable religious organ-

  izations to create and maintain communities composed solely of individuals faithful

  to their doctrinal practices.” Little, 929 F.2d at 951. The pleadings demonstrate that

  this is precisely what the Archdiocese has done in declining to renew Starkey’s con-

  tract here. Her Title VII claims (Counts I-III) must be dismissed.




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        B. Starkey’s material breach constituted a legitimate, nondiscrimi-
           natory reason for the Archdiocese’s nonrenewal.
     Exemption aside, Starkey’s Title VII claims also fail because her breach of her

  ministry contract’s “morals clause” constitutes a legitimate, nondiscriminatory justi-

  fication for the Archdiocese’s nonrenewal decision. Cline v. Catholic Diocese of Toledo,

  206 F.3d 651, 666 (6th Cir. 2000); see Maguire v. Marquette Univ., 814 F.2d 1213,

  1216-17 (7th Cir. 1987) (explaining that “Title VII does not grant relief to individuals

  who were refused employment for any reason other than discrimination on account

  of race, color, religion, sex, or national origin” and rejecting claim where decision was

  based on theological disagreement (internal quotation marks and citation omitted)).

     The year this dispute arose, Starkey was employed pursuant to a “School Guid-

  ance Counselor Ministry Contract.” Compl. ¶ 25; Answer ¶ 25. Under what Starkey

  refers to as the contract’s “morals clause,” Compl. ¶ 24, she was required to “convey

  and be supportive of the teachings of the Catholic Church”—including, specifically,

  “the belief that all persons are called to respect human sexuality and its expression

  in the Sacrament of Marriage.” Ex. 2 ¶ V.A. The contract further specified that she

  would be in default if she entered a “[r]elationship[ ] … contrary to a valid marriage

  as seen through the eyes of the Catholic Church” or engaged in “any personal conduct
  or lifestyle at variance with the policies of the Archdiocese or the moral or religious
  teachings of the Roman Catholic Church.” Ex. 1 ¶ 6(i), (j).

     The parties agree that Starkey engaged in conduct prohibited by these provisions.

  Compl. ¶ 26; Answer ¶ 26. And the parties further agree that this breach formed the

  basis of the Archdiocese’s actions: Starkey’s contract was not renewed because her

  “civil union” violated her ministry contract and was “contrary to the teaching of the

  Catholic Church.” Compl. ¶ 45; Answer ¶ 45.

     Material breach of contract is of course a legitimate, nondiscriminatory reason for

  an adverse employment action. E.g., Brasic v. Heinemann’s Inc., 121 F.3d 281, 284-



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  85 (7th Cir. 1997). And morals clauses are no different; even for secular employers,

  “[m]orals clauses have long been held valid and enforceable” despite Title VII claims.

  Nader v. ABC Television, Inc., 150 F. App’x 54, 56 (2d Cir. 2005). That is “particularly”

  true for religious employers like the Archdiocese, whose contractual morals clauses

  are often connected to their statutorily and constitutionally protected efforts to hire

  and retain only employees “of a particular religion.” Gosche v. Calvert High Sch., 997

  F. Supp. 867, 872 (N.D. Ohio 1998) (quoting 42 U.S.C. § 2000e-1); see also, e.g., Cline,

  206 F.3d at 666 (diocesan school’s policy against premarital sex); cf. Christian Legal

  Soc’y v. Walker, 453 F.3d 853, 857-58 (7th Cir. 2006) (student group’s policy prohibit-

  ing “sexual activity outside of a traditional (one man, one woman) marriage”). Be-

  cause this legitimate, nondiscriminatory reason for the Archdiocese’s decision ap-

  pears on the face of Starkey’s complaint, her Title VII claims must be dismissed on

  the pleadings. See, e.g., Martinez v. City of New York, 338 F. App’x 71, 73 (2d Cir.

  2009); Leak v. Hous. Auth. of Winston-Salem, No. 13-837, 2013 WL 5494085, at *3

  (M.D.N.C. Oct. 2, 2013); cf. Washington v. Safer Found., 274 F. App’x 484, 485 (7th

  Cir. 2008) (“[P]laintiff does not dispute that he was aware of [the employer’s] absence

  policy and violated it. That is enough to doom his prima facie case.”).
        C. Starkey has failed to allege that the challenged decision was moti-
           vated by sexual orientation, rather than Church teachings.
     Starkey’s Title VII claims also fail because she does not (and cannot) allege that

  the challenged actions were based on her sexual orientation rather than her conduct

  in entering a same-sex union and rejecting Church teaching.

     Title VII is “only concerned with animus motivated by certain protected charac-

  teristics.” Hall v. City of Chicago, 713 F.3d 325, 330 (7th Cir. 2013) (citing Oncale v.

  Sundowner Offshore Servs., Inc., 523 U.S. 75, 80 (1998)). If an employment decision

  is based on “any reason other than” a protected characteristic, “no federal claim is

  implicated.” Vore v. Ind. Bell Telephone Co., 32 F.3d 1161, 1162 (7th Cir. 1994); see



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  Johnson v. Advocate Health & Hosps. Corp., 892 F.3d 887, 894 (7th Cir. 2018) (“[T]he

  singular question that matters in a discrimination case [is] whether … [a] proscribed

  factor caused the discharge or other adverse employment action.” (cleaned up)).

     Here, Starkey purports to assert “sexual orientation” discrimination. But even as-

  suming “sexual orientation” is a characteristic protected by Title VII, but see infra

  Part I.F, the parties agree that the Archdiocese declined to renew Starkey’s contract

  not because of her “sexual orientation” but because of her “conduct” in entering into

  a same-sex union and rejecting Church teaching. Walker, 453 F.3d at 860-61 (empha-

  sis original). In Walker, the Seventh Circuit held that a university policy prohibiting

  “sexual orientation” discrimination likely did not prohibit a religious group from re-

  quiring members “to adhere to and conduct themselves in accordance with” its reli-

  giously motivated opposition to homosexual conduct. Id. at 860. The Seventh Circuit

  reasoned that that requirement was “based on belief and behavior rather than status,

  and no language in” the university policy “prohibits this.” Id.

     So too here: The pleadings and incorporated documents show that the Archdiocese

  declined to renew Starkey’s contract not because of her “sexual orientation” but be-

  cause she entered a same-sex union contrary to Church teaching. The Archdiocese
  believes that people with same-sex attraction “must be accepted with respect, com-

  passion, and sensitivity.” Catechism of the Catholic Church ¶ 2358, available at

  http://www.vatican.va/archive/ccc_css/archive/catechism/ccc_toc.htm. At the same

  time, the Church teaches that “homosexual acts” “do not proceed from a genuine af-

  fective and sexual complementarity” and are “[u]nder no circumstances” permitted,

  id. ¶ 2357, and that marriage is a covenant between “a man and a woman” as estab-

  lished and revealed by God. Code of Canon Law, Canon 1055 § 1. Consistent with

  these beliefs, Starkey’s contract required her to “convey and be supportive of the

  teachings of the Catholic Church,” rendering her in default if she entered a “[r]ela-

  tionship[ ] … contrary to a valid marriage as seen through the eyes of the Catholic


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  Church” or engaged in “any personal conduct or lifestyle at variance with the”

  Church’s “moral or religious teachings.” Ex. 2 ¶ V.A (emphasis added); Ex. 1 ¶ 6(i),

  (j). And consistent with the contract, the Archdiocese declined to renew Starkey’s em-

  ployment not because of her status but because of her conduct: she had entered into

  a “civil union [in] violation [of her] contract and contrary to the teaching of the Cath-

  olic Church.” Compl. ¶ 45.

      Starkey’s claims therefore fail, as she doesn’t plausibly allege discrimination

  based on any protected status. Starkey was fired because she entered a same-sex

  union, not because of her sexual orientation—and those are different things. See, e.g.,

  Evans v. Ga. Reg’l Hosp., 850 F.3d 1248, 1259 (11th Cir. 2017) (Pryor, J., concurring)

  (“Like some heterosexuals, some gay individuals may choose not to marry or date at

  all or may choose a celibate lifestyle.”). The Archdiocese’s opposition to same-sex un-

  ions—its millennia-old view that marriage is “by its nature a gender-differentiated

  union of man and woman”—isn’t invidious discrimination but a belief “held in good

  faith by” millions of “reasonable and sincere people here and throughout the world”

  and entitled to “protection.” Obergefell, 135 S. Ct. at 2594, 2602, 2607.2
         D. Starkey’s Title IX claim is preempted by Title VII.
      Starkey’s Title IX claim also fails because it is preempted by Title VII. That claim

  is based on the same alleged conduct as her Title VII claims—the nonrenewal of her

  employment contract. Compl. Count IV. But settled Seventh Circuit precedent re-
  quires that “all employment-discrimination claims must be brought under Title VII,”


  2 Christian Legal Soc’y v. Martinez, 561 U.S. 661 (2010), does not overrule the Seventh Cir-
  cuit’s decision in Walker or contradict Obergefell on this point. Although Martinez said some
  decisions “have declined to distinguish between status and conduct,” that was dictum in the
  context of explaining why a university might want to adopt a policy requiring all student
  groups to accept “all-comers.” Id. at 689. More recent decisions have expressly relied on the
  distinction between status and conduct. See, e.g., Trinity Lutheran Church of Columbia, Inc.
  v. Comer, 137 S. Ct. 2012, 2023 (2017) (distinguishing prior precedent on the ground that the
  plaintiff “was not denied a scholarship because of who he was” but “because of what he pro-
  posed to do,” and forbidding discrimination based on “status”).


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  even if the employer is an institution also covered by Title IX. Brown v. Ill. Dep’t of

  Human Res., 717 F. App’x 623, 625-26 (7th Cir. 2018) (Mem.) (emphasis added; citing

  Waid v. Merrill Area Pub. Schs., 91 F.3d 857 (7th Cir. 1996), abrogated on other

  grounds by Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246 (2009)). “Title VII pro-

  vides a comprehensive statutory scheme for protecting rights against discrimination

  in employment,” and it is “well-established that Title VII’s own remedial mechanisms

  are the only ones available to protect the rights created by Title VII.” Waid, 91 F.3d

  at 861-62. “It follows,” then—as district courts within this Circuit routinely recog-

  nize—that Title IX claims for employment discrimination are “precluded by Title

  VII.” Bergholz v. John Marshall Law Sch., No. 18 C 3, 2020 WL 1066248, at *8 (N.D.

  Ill. Mar. 5, 2020); see also, e.g., Saud v. DePaul Univ., No. 19-cv-3945, 2019 WL

  5577239, at *4 (N.D. Ill. Oct. 29, 2019) (“Defendants respond that Plaintiff’s Title IX

  claim is employment-related and therefore preempted by Title VII. Defendants are

  correct. The relevant Seventh Circuit precedent is Waid ….” (collecting cases));

  McMahon v. College, No. 04-C-0384, 2005 WL 8162996, at *4 (E.D. Wis. Jan. 18, 2005)

  (“[C]ourts that have considered the issue have concluded that Title VII preempts Title

  IX claims for employment discrimination.” (collecting cases)).
        E. Starkey’s Title IX claim is barred by Title IX’s religious-school ex-
           emption.
     Even if it weren’t preempted by Title VII, Starkey’s Title IX claim would fail under

  Title IX itself. Like Title VII, Title IX includes an explicit exemption for religious

  organizations like the Archdiocese: Title IX “shall not apply to an educational insti-

  tution which is controlled by a religious organization” if application would “not be

  consistent” with the organization’s “religious tenets.” 20 U.S.C. § 1681(a)(3). That ex-

  emption controls here, barring Starkey’s Title IX claim.

     First, Roncalli is an “educational institution,” and it is “controlled by a religious

  organization,” the Archdiocese. Id. Roncalli is an archdiocesan high school of which



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  the Archbishop of the Archdiocese of Indianapolis is the sole corporate member. An-

  swer ¶ 13; see Ex. 3 ¶ 1.1. And Starkey’s own allegations demonstrate the Archdio-

  cese’s “control[]”: She alleges that that “the Archdiocese directed Roncalli … to imple-

  ment uniform ‘morals clause’ language in its teacher contracts,” and that Roncalli

  required her, “at the direction of the Archdiocese,” to sign a ministry contract. Compl.

  ¶¶ 24-25. The exemption’s religious-control requirement is met.

     Second, applying Title IX here would “not be consistent” with the Archdiocese’s

  “religious tenets.” 20 U.S.C. § 1681(a)(3). This element is met where the religious or-

  ganization “offers a religious justification for the adverse action or where the claim

  will otherwise pose too much intrusion into the religious [organization’s] Free Exer-

  cise and Establishment Clause rights.” Garrick v. Moody Bible Inst., 412 F. Supp. 3d

  859, 871 & n.5 (N.D. Ill. 2019) (internal quotation marks and citation omitted);

  Petruska v. Gannon Univ., No. 1:04-cv-80, 2008 WL 2789260, at *4 (W.D. Pa. Mar.

  31, 2008) (applies “where the organization’s challenged conduct is religiously moti-

  vated”). For example, a claim of sexual-orientation discrimination “could not proceed”

  if the challenged action “was rooted in the Catholic church’s doctrinal opposition to

  same-sex marriage.” Moody Bible, 412 F. Supp. 3d at 871 & n.5.
     That is this case. Starkey alleges that the Archdiocese violated Title IX by declin-

  ing to renew her contract because of her “opposi[tion]” to its actions taken against

  “herself and/or Fitzgerald.” Compl. ¶ 73. But with respect to both Starkey and Fitz-

  gerald, the Archdiocese’s actions were “rooted firmly in its religious beliefs” opposing

  same-sex unions. Moody Bible, 412 F. Supp. 3d at 872. The Archdiocese declined to

  renew Starkey’s contract because she rejected Church teaching and entered a same-

  sex union. Compl. ¶ 45. And it placed Fitzgerald on administrative leave for the same

  reason. Id. ¶¶ 30-32. Title IX’s religious exemption protects these decisions. And that

  is true whether the decisions are cast as discrimination or retaliation: the exemption

  permits religious schools to take actions based on their “religious tenets,” and “where


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  a retaliation claim is based on complaints directed toward that permissible discrimi-

  nation, [Title IX]’s anti-retaliation provision does not apply.” Aparicio v. Christian

  Union, Inc., No. 18-CV-0592, 2019 WL 1437618, at *9 (S.D.N.Y. Mar. 29, 2019) (in-

  ternal quotation marks and citation omitted; discussing Title VII); see Moody Bible,

  412 F. Supp. 3d at 872 (same reasoning for Title IX claim based “entirely upon the

  alleged retaliation Garrick faced for her advocacy” against religiously motivated con-

  duct alleged to be sex discrimination).

      Because Starkey’s Title IX claim would punish the Archdiocese for acting on its

  religious beliefs, application of Title IX “would not be consistent with [the Archdio-

  cese’s] religious tenets,” 20 U.S.C. § 1681(a)(3), and the Title IX claim must be dis-

  missed. Moody Bible, 412 F. Supp. 3d. at 871.
         F. Neither Title VII nor Title IX applies to claims of discrimination
            based on sexual orientation.
      To preserve its argument pending the Supreme Court’s decision in Bostock v. Clay-

  ton County, No. 17-1618 (argued October 8, 2019), the Archdiocese notes that neither

  Title VII nor Title IX, rightly understood, “cover[s]” “employment decisions based on

  a person’s sexual orientation.” Hively v. Ivy Tech Cmty. Coll. of Ind., 853 F.3d 339,

  360-61 (7th Cir. 2017) (Sykes, J., dissenting). If the Court issues its Bostock opinion
  during the pendency of this motion, the Archdiocese anticipates that the parties will
  file supplemental briefing addressing how that decision affects Starkey’s claims.
  II. All of Starkey’s claims are barred by the First Amendment.
      Starkey’s claims are not only foreclosed by the text of Title VII and Title IX, but

  also barred by multiple, overlapping First Amendment doctrines: the right of reli-

  gious autonomy, the prohibition on government entanglement in religious questions,

  and the freedom of association.3


  3If Starkey’s federal claims are dismissed, the Court should dismiss the state claims, too,
  under the well-settled “presumption” that “when all federal claims in a suit in federal court



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         A. All of Starkey’s claims are barred by religious autonomy.
      The constitutional principle of religious autonomy gives “‘special solicitude to the

  rights of religious organizations’ as religious organizations, respecting their auton-

  omy to shape their own missions, conduct their own ministries, and generally govern

  themselves in accordance with their own doctrines as religious institutions.” Korte,

  735 F.3d at 677-79 (quoting Hosanna-Tabor, 565 U.S. at 189).4 One way in which it

  does so is by barring lawsuits, like this one, implicating a religious organization’s

  “internal affairs.” Tomic v. Catholic Diocese of Peoria, 442 F.3d 1036, 1037 (7th Cir.

  2006), abrogated on other grounds by Hosanna-Tabor, 565 U.S. at 195 n.4. And be-

  cause religious autonomy is rooted in the First Amendment, it bars Starkey’s federal

  and state claims alike.
            1. Starkey’s federal claims are barred by religious autonomy.
      Under the religious-autonomy doctrine, churches have a constitutional right “to

  decide for themselves, free from state interference, matters of church government as

  well as those of faith and doctrine.” Kedroff v. St. Nicholas Cathedral of Russian Or-

  thodox Church in N. Am., 344 U.S. 94, 116 (1952). This doctrine has been held to bar

  civil authorities from intervening in a broad range of internal church matters. For

  example, in Kedroff, the Supreme Court struck down a New York law that would have

  transferred control over a cathedral from one church authority to another. 344 U.S.
  at 119. And in Milivojevich, it barred civil courts from interfering in a church’s deci-

  sion to reorganize itself and remove a bishop. 426 U.S. at 713.

      Most relevant here, religious autonomy also bars civil courts from intervening in


  are dismissed before trial, … the court will relinquish jurisdiction over any supplemental
  state-law claims.” RWJ Mgmt. Co. v. BP Prod. N. Am., Inc., 672 F.3d 476, 479 (7th Cir. 2012)
  (cleaned up). As discussed in this Part, however, the First Amendment bars Starkey’s federal
  and state claims alike.
  4Courts have variously used the terms “religious autonomy” and “church autonomy” to de-
  note this concept. See, e.g., Hosanna-Tabor, 565 U.S. at 200 (Alito, J., joined by Kagan, J.,
  concurring) (describing “religious autonomy”). We use “religious autonomy” here to clarify
  that the concept extends beyond Christian houses of worship.


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  disputes over whether a person meets a religious organization’s doctrinal qualifica-

  tions for membership or employment. As the Court recognized over a century ago,

  when a religious association organizes itself and provides for its governance, all who

  later “unite themselves to [it] do so with an implied consent to this government, and

  are bound to submit to it,” “in all cases of ecclesiastical cognizance.” Watson v. Jones,

  80 U.S. 679, 728-29 (1871). It is therefore well-recognized that suits challenging a

  church’s disciplining or expulsion of a member on religious grounds are off-limits:

  Civil courts “have no power to revise or question ordinary acts of church discipline,

  or of excision from membership.” Bouldin v. Alexander, 82 U.S. (15 Wall.) 131, 139

  (1872); see also, e.g., Paul v. Watchtower Bible & Tract Soc’y of N.Y., Inc., 819 F.2d

  875, 883 (9th Cir. 1987) (“The members of the Church Paul decided to abandon have

  concluded that they no longer want to associate with her.… [T]hey are free to make

  that choice.”).

     The same principle applies even more forcefully when the person disciplined or

  expelled isn’t just a member but a representative or employee—and especially (as

  here) a director. See Gonzalez v. Roman Catholic Archbishop, 280 U.S. 1, 16 (1929)

  (“[I]t is the function of the church authorities to determine what the essential quali-
  fications of a chaplain are and whether the candidate possesses them.”). The minis-

  terial exception prevents courts from intervening in disputes between a religious or-

  ganization and its “ministers,” whether the dispute is based on a question of religious

  doctrine or not. Hosanna-Tabor, 565 U.S. at 194-95. But religious autonomy protects

  other “personnel decision[s],” too—including for non-ministers—when they are

  “based on religious doctrine.” Bryce v. Episcopal Church in the Diocese of Colo., 289

  F.3d 648, 660 (10th Cir. 2002). Determining that “only those committed to [the

  church’s] mission should conduct” its activities is a “means by which a religious com-

  munity defines itself.” Amos, 483 U.S. at 342 (Brennan, J., concurring). Thus, to for-




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  bid a religious institution from requiring its employees and representatives to be com-

  mitted to its mission is to “cause the group as it currently identifies itself to cease to

  exist.” Walker, 453 F.3d at 863.

     Bryce is instructive. There a church’s youth minister sued under Title VII after

  she was allegedly harassed following her entrance into a civil commitment ceremony

  with another woman; she alleged that church officials’ statements about homosexu-

  ality and her activities constituted sex discrimination. 289 F.3d at 651-53. But the

  Tenth Circuit affirmed judgment for the church on grounds of religious autonomy.

  The court expressly declined to decide whether the plaintiff was a “minister” for min-

  isterial-exception purposes. Id. at 658 n.2. Instead, the court explained that even

  where the plaintiff is not a minister, claims challenging religious organizations’ “per-

  sonnel decision[s]” are precluded where “the alleged misconduct is ‘rooted in religious

  belief.’” Id. at 657-58 (quoting Wisconsin v. Yoder, 406 U.S. 205, 215 (1972)). Thus,

  because the plaintiff had suffered adverse action for “violating Episcopal doctrine”—

  specifically, entering a same-sex union—and the challenged conduct consisted of

  “meetings to discuss that decision and the ecclesiastical doctrine underlying it, the

  courts [could] not intervene.” Id. at 652, 660.
     Courts in this Circuit have repeatedly applied a similar analysis, holding that the

  “overarching principle of religious autonomy” barred employment-discrimination

  claims arising from a religious organization’s interpretation and application of reli-

  gious doctrine, regardless of whether the plaintiff is a minister or not. See Moody

  Bible, 412 F. Supp. 3d at 871 (citing Demkovich v. St. Andrew the Apostle Parish, 343

  F. Supp. 3d 772, 782, 785 (N.D. Ill. 2018)).

     In Demkovich, for example, the court held that religious autonomy, rather than

  the ministerial exception, barred a Catholic church employee’s hostile-work-environ-

  ment claim based on the pastor’s alleged “abusive and harassing behavior” in re-

  sponse to the employee’s sexual orientation and same-sex wedding. 343 F. Supp. 3d


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  at 776-77. These alleged comments went far beyond anything alleged in support of

  the hostile-work-environment claim here. See id. Yet the court nonetheless dismissed

  the claim on the pleadings, because “the Archdiocese offer[ed] a religious justification

  for the alleged derogatory remarks and other harassment”: “the pastor’s opposition,

  in accordance with Catholic doctrine, to same sex marriage.” Id. at 786-87 (internal

  quotation marks omitted). Because the employee’s claim implicated that “official op-

  position,” entertaining it “would pose too much of an intrusion into the” Archdiocese’s

  “religious employer’s Free Exercise and Establishment Clause rights.” Id. at 785-86.

     Likewise, in Moody Bible, the court dismissed at the pleading stage employment-

  discrimination claims involving a religious employer’s application of its religious

  standards. There, a Christian college dismissed a teacher because her beliefs and

  advocacy in favor of “women in the ministry” were “contrary to [the college’s] doctrinal

  views” on “gender roles.” 412 F. Supp. 3d at 865, 872. The teacher then sued, alleging

  that the firing constituted sex discrimination and retaliation in violation of Title VII

  and Title IX. Id. at 871-72. The court could not “conclusively” determine whether

  plaintiff was a minister based solely on the complaint. Id. at 871. But it nonetheless

  dismissed her claims as violating religious autonomy, reasoning that when a religious
  employer’s reasons for taking adverse action are “rooted firmly in its religious be-

  liefs,” entertaining discrimination claims “would impermissibly inject the auspices of

  government into religious doctrine and governance.” Id. at 871-72 (citing Bryce, 289

  F.3d at 657-59); see also Aparicio, 2019 WL 1437618, at *8-10 (barring non-minister

  plaintiff’s Title VII discrimination and retaliation claims as violating religious auton-

  omy where the plaintiff was fired for opposing the religious organization’s beliefs ex-

  cluding women from ministry).

     As in Bryce, Demkovich, and Moody Bible, Starkey’s claims are barred by religious

  autonomy. She acknowledges that her contract was not renewed because she “vio-




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  lat[ed Catholic] doctrine” that has been taught for millennia and was expressly incor-

  porated into her contract. Bryce, 289 F.3d at 652; see Compl. ¶ 45; Ex. 1 ¶ V.A; Ex. 2

  ¶ 6(i). Thus, allowing her claims to proceed “would impermissibly inject the auspices

  of government into religious doctrine and governance.” Moody Bible, 412 F. Supp. 3d

  at 871-72 (citing Bryce, 289 F.3d at 657-59).

     Moreover, although Starkey attempts to repackage her single, doctrine-motivated

  nonrenewal into various Title VII and Title IX boxes, for all these claims, “the alleged

  misconduct” remains “rooted in religious belief.” Bryce, 289 F.3d at 657 (internal quo-

  tation marks and citation omitted). It’s irrelevant whether her nonrenewal stemmed

  from her own same-sex conduct (Compl. Count I) or her views on others’ (Compl.

  Counts II, IV); “[e]ither way, [the Archdiocese’s] alleged reasons for firing [her] were

  rooted firmly in its religious beliefs.” Moody Bible, 412 F. Supp. 3d at 872. And “her

  hostile-work-environment claim” likewise “implicates [the Archdiocese’s] doctrine,

  given that” all the alleged hostility arose from her (and another employee’s) rejection

  of Church teaching. Id.; see Compl. ¶¶ 29-45. Just as the First Amendment bars the

  Court from “outright punishing the Church for holding that position,” it also “give[s]

  the [C]hurch the right ‘to engage freely in ecclesiastical discussions’” applying its
  views to individual cases. Demkovich, 343 F. Supp. 3d at 786 (quoting Bryce, 289 F.3d

  at 653, 659).

     In short, when a religious organization “makes a personnel decision based on re-

  ligious doctrine, and holds meetings to discuss that decision and the ecclesiastical

  doctrine underlying it, the courts will not intervene.” Bryce, 289 F.3d at 660. Starkey’s

  discrimination claims are barred by religious autonomy.
            2. Starkey’s state claims are barred by religious autonomy.
     For similar reasons, religious autonomy also bars Starkey’s state-law claims

  (Counts V-VI). Specifically, Starkey claims the Archdiocese is liable for intentional




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  interference with contract and intentional interference with an employment relation-

  ship for “directing Roncalli to implement a ‘morals clause’ in Starkey’s contract” and

  requiring Roncalli to decline to renew that contract after Starkey violated the morals

  clause. Compl. ¶¶ 82-83, ¶¶ 89-90. This is at bottom a challenge to the same reli-

  giously motivated employment decision as her discrimination claims, and it violates

  religious autonomy for the same reasons. See Myhre v. Seventh-day Adventist Church

  Reform Movement Am. Union Int’l Missionary Soc’y, 719 F. App’x 926, 928-30 (11th

  Cir. 2018) (dismissing state tort claims premised on employee’s defrocking and ter-

  mination of benefits “due to a ‘theological disagreement’”); N.Y. Times v. Sullivan,

  376 U.S. 254, 265 (1964) (First Amendment applies to state claims, and it “matters

  not that that law has been applied in a civil action and that it is common law only….”).

     Indiana courts have repeatedly applied the religious autonomy doctrine to dismiss

  tort claims like Starkey’s in circumstances like those here. See Byrd v. DeVeaux, No.

  DKC 17-3251, 2019 WL 1017602, at *5-8 (D. Md. Mar. 4, 2019) (looking to state cases

  to determine that state tort claims implicated religious autonomy and granting mo-

  tion to dismiss). In McEnroy v. St. Meinrad School of Theology, 713 N.E.2d 334 (Ind.

  Ct. App. 1999), for example, a Catholic seminary professor signed an open letter op-
  posing the Pope’s teaching on ordination of women. The Archabbot decided that this

  rendered the professor “seriously deficient” as a teacher under “the Church’s canon

  law,” and he directed the seminary’s President to remove the professor. Id. at 336.

  The professor then sued the Archabbot for intentional interference with contractual

  relations. But the Court of Appeals dismissed the claim for lack of jurisdiction, be-

  cause determining whether the professor’s conduct caused her to be “seriously defi-

  cient” as a teacher, and whether the Archabbot “properly exercised his jurisdiction

  over [the seminary],” would “clearly and excessively entangle[]” the court “in religious

  affairs in violation of the First Amendment.” Id. at 337.

     The same is true here. Under Indiana law, both of Starkey’s tort claims would


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  require the Court to determine whether the Archdiocese had a “legitimate reason” for

  the alleged “interference,” Morgan Asset Holding Corp. v. CoBank, ACB, 736 N.E.2d

  1268, 1272 (Ind. Ct. App. 2000)—that is, for requiring Roncalli to implement a “mor-

  als clause” in Starkey’s contract and then to enforce it in light of her violation. See

  Compl. ¶¶ 82-83, ¶¶ 89-90. And that is ultimately a religious question—turning on

  whether violating the teachings of the Catholic Church renders a Catholic-school

  guidance counselor “deficient” under “canon law,” and whether the Archbishop

  “properly exercised his jurisdiction over [Roncalli].” McEnroy, 713 N.E.2d at 337. As

  in McEnroy, resolving these questions would make this Court “clearly and excessively

  entangled in religious affairs in violation of the First Amendment.” Id.

     The Indiana Supreme Court reached a similar result in Brazauskas v. Fort Wayne-

  South Bend Diocese, Inc., 796 N.E.2d 286 (Ind. 2003). There, the plaintiff sued a Cath-

  olic diocese for tortious interference with a business relationship, alleging that the

  diocese prevented her from getting a job at Notre Dame by informing Notre Dame of

  her past accusations against the diocese. But the court held that her claims were

  barred, because applying “tort law to penalize communication and coordination

  among church officials … on a matter of internal church policy and administration
  that did not culminate in any illegal act … would violate the church autonomy doc-

  trine.” Id. at 294. So too here: As in Brazauskas, Starkey invokes tort law to penalize

  the Archdiocese for its “communication and coordination” with Roncalli “on a matter

  of internal church policy and administration.” Id. Starkey’s state-law claims, like

  those under Title VII and Title IX, must be dismissed. See also Dwenger v. Geary, 14

  N.E. 903, 908, 909 (Ind. 1888) (rejecting claim of a contractual right to burial in a

  Catholic cemetery, because the Constitution gives the church authority to establish

  “rules for the government of [its] cemetery,” and “[t]he court, having no ecclesiastical

  jurisdiction, cannot review or question ordinary acts of church discipline”).




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        B. All of Starkey’s claims are barred because they would impermissi-
           bly entangle the Court in religious questions.
     Relatedly, all of Starkey’s claims are also barred because they invite the Court to

  engage in “religious line-drawing” that would “impermissibly entangle[]” the Court

  in religious questions. Grussgott v. Milwaukee Jewish Day Sch., Inc., 882 F.3d 655,

  660 (7th Cir. 2018) (quoting Amos, 483 U.S. at 343). “[F]ederal courts are not empow-

  ered to decide (or to allow juries to decide) religious questions.” McCarthy v. Fuller,

  714 F.3d 971, 980 (7th Cir. 2013). To do so would be “wholly inconsistent with the

  American concept of the relationship between church and state.” Presbyterian Church

  in U.S. v. Mary Elizabeth Blue Hull Mem’l Presbyterian Church, 393 U.S. 440, 445-

  46 (1969). “Courts are not arbiters of scriptural interpretation.” Thomas v. Review

  Bd. of Ind. Emp’t Sec. Div., 450 U.S. 707, 716 (1981); see also Univ. of Notre Dame v.

  Sebelius, 743 F.3d 547, 566 (7th Cir. 2014) (Flaum, J., dissenting) (“[W]e are judges,

  not moral philosophers or theologians[.]”), vacated and remanded 575 U.S. 901 (2015).

  Rather, “[r]eligious questions are to be answered by religious bodies.” McCarthy, 714

  F.3d at 976.

     Here, Starkey’s claims on their face would require impermissible judicial decisions

  on quintessentially theological disputes. See id. at 975-76. Specifically, her complaint
  acknowledges that although she was fired for a sex- (and sexual-orientation)-neutral
  reason—her violation of Church teachings on sex and marriage—she hopes to show

  differential treatment by finding evidence that other employees entered opposite-sex

  marriages that “violate Church teachings” and were not “terminated or non-re-

  newed.” Compl. ¶¶ 46, 52. But that comparison is probative only if being in an oppo-

  site-sex marriage inconsistent with Church teaching is, as a moral and theological

  matter, an equally weighty violation as being in a same-sex union—a theological

  question not amenable to resolution by civil courts.

     Multiple cases demonstrate the point. For example, in Curay-Cramer, a Catholic



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  school teacher fired for publicly supporting abortion attempted to prove sex discrim-

  ination by showing that her conduct was “less egregious under Catholic doctrine than

  conduct of male employees who were treated less harshly.” 450 F.3d at 132. The Third

  Circuit rejected the claim, because “measur[ing] the degree of severity of various vio-

  lations of Church doctrine” “would violate the First Amendment.” Id. at 137, 139.

     Likewise, in Hall, a Baptist college employee was fired for becoming a lay minister

  in a church that affirmed homosexual conduct; she tried to prove discrimination by

  pointing to other employees who had not been fired for violating Baptist teachings—

  such as becoming ordained in a church that permitted women’s ordination, or “having

  an adulterous relationship.” 215 F.3d at 626-27. But the Sixth Circuit declined to

  entertain this comparison and affirmed judgment for the college. “In essence,” the

  court explained, the plaintiff was “requesting this court to tell the College that it must

  be opposed to the ordination of women with the same degree of conviction and inten-

  sity” as it opposed homosexuality or else “suffer liability under Title VII.” Id. at 626

  (internal quotation marks and brackets omitted). Accepting that invitation would vi-

  olate the First Amendment. Id.

     Starkey’s discrimination claims fail for the same reason. Starkey doesn’t dispute
  that her same-sex union violates Church teaching; she alleges only that she’s been

  treated worse than other employees whose opposite-sex marriages do, too. But even

  if these allegations were true, they would be relevant only if the two types of viola-

  tions are morally and theologically equivalent. See Patterson v. Avery Dennison Corp.,

  281 F.3d 676, 680 (7th Cir. 2002) (comparators must be “directly comparable … in all

  material respects”). And that is a religious question the First Amendment bars this

  Court from deciding. If the Archdiocese “wishes to differentiate between the severity

  of violating two tenets of its faith, it is not the province of the federal courts to say

  that such differentiation is discriminatory and therefore warrants Title VII liability.”

  Hall, 215 F.3d at 626-27.


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        C. All of Starkey’s claims are barred by freedom of association.
     Even setting aside the Religion Clauses, the First Amendment would still bar all

  of Starkey’s claims. Freedom of association protects expressive associations’ right to

  disaffiliate with those who undermine their message, even if doing so would otherwise

  violate an antidiscrimination law, Boy Scouts of Am. v. Dale, 530 U.S. 640 (2000), or

  state tort law, NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982). This right

  protects organizations both secular and religious, including the Boy Scouts, Dale, 530

  U.S. at 642-43; political parties, Eu v. S.F. Cty. Democratic Cent. Comm., 489 U.S.

  214, 229 (1989); parade organizers, Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp.,

  515 U.S. 557, 581 (1995), student groups, Walker, 453 F.3d at 861-64—and Catholic

  schools like the Archdiocese, Our Lady’s Inn v. City of St. Louis, 349 F. Supp. 3d 805,

  822 (E.D. Mo. 2018). And it applies here, requiring that Starkey’s claims be dis-

  missed.

     Dale is the leading case. There, a former scoutmaster sued the Boy Scouts, claim-

  ing that his dismissal for being “an avowed homosexual and gay rights activist” vio-

  lated state antidiscrimination law. 530 U.S. at 643-45. But the Supreme Court held

  that the First Amendment foreclosed this claim. Freedom to associate, the Court ex-

  plained, “presupposes a freedom not to associate,” where forced association would un-

  dermine the group’s ability to express its views. Id. at 647-48 (quoting Roberts v. U.S.

  Jaycees, 468 U.S. 609, 622 (1984)). Applying this rule, the Court found that the Boy

  Scouts taught that “homosexual conduct is not morally straight”—yet “Dale’s pres-

  ence in the” group would suggest that it “accepts homosexual conduct as a legitimate

  form of behavior.” Id. at 651-53. To apply antidiscrimination law to override the Boy

  Scouts’ disaffiliation decision, then, would unconstitutionally impair its ability “to

  express those views, and only those views, that it intends to express.” Id. at 648.

     Following Dale, the Seventh Circuit, too, has recognized that the freedom of asso-




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  ciation protects a group’s ability to disaffiliate with those who reject its tenets—in-

  cluding, as in Dale and here, tenets on human sexuality. In Walker, a university re-

  voked a Christian student group’s official status because the group did not accept

  members “who engage in or affirm homosexual conduct.” 453 F.3d at 858. The district

  court declined to enjoin the university’s actions, id., but the Seventh Circuit reversed.

  Forcing the group to include those members “significantly affect[ed]” its “ability to

  express its disapproval of homosexual activity,” the court explained, and the univer-

  sity’s interest in prohibiting sexual-orientation discrimination could not outweigh the

  First Amendment. Id. at 862-64.

     As Walker and other cases show, freedom of association doesn’t just protect a

  group’s right to determine its “leaders” but applies to any forced association that

  would “significantly affect [the group’s] ability to preserve and pass on its message.”

  Neely-Bey Tarik-El v. Conley, 912 F.3d 989, 1000 (7th Cir. 2019) (prohibition of “par-

  ticipat[ion] as a member” including “speak[ing]” to group members). The key ques-

  tions are whether the organization “engage[s] in some form of expression”; and, if so,

  whether the forced association would “significantly affect [its] ability to advocate” its

  viewpoints. Dale, 530 U.S. at 648, 650.
     Applying this analysis here, punishing the Archdiocese for declining to renew

  Starkey’s contract would violate freedom of association. First, the Archdiocese is an

  expressive association. Indeed, “[r]eligious groups are the archetype of associations

  formed for expressive purposes.” Hosanna-Tabor, 565 U.S. at 200 (Alito, J., concur-

  ring, joined by Kagan, J.). The Archdiocese exists to express, preserve, and convey

  the Catholic faith—including its teachings on sex and marriage. See Ex. 2 ¶ V.A;

  Catholic Bishop, 440 U.S. at 503 (“obvious … that the raison d’être of parochial

  schools is the propagation of a religious faith” (internal quotation marks omitted)).

  And those teachings are clear, widely understood, and have been articulated for mil-

  lennia. Cf. Dale, 530 U.S. at 668 (Stevens, J., dissenting) (arguing that the Boy Scouts’


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  requirements that scouts be “morally straight” and “clean” didn’t “say[ ] the slightest

  thing about homosexuality”).

     Second, punishing the Archdiocese for declining to retain Starkey as a guidance

  counselor, despite her open defiance of the Church’s teachings on sexuality, would

  “significantly affect” the Archdiocese’s “ability to advocate” its viewpoint. Dale, 530

  U.S. at 650. Courts must “give deference to an association’s view of what would im-

  pair its expression.” Id. at 653. Yet little deference is required to see that forcing the

  Archdiocese to retain Starkey would undermine its ability to express its message on

  homosexual conduct. “It would be difficult for [the Archdiocese] to sincerely and ef-

  fectively convey a message of disapproval of [homosexual conduct] if, at the same

  time, it must” employ representatives who reject the message and “engage in that

  conduct,” Walker, 453 F.3d at 863—particularly when, like Starkey, they are charged

  with counseling students who may be struggling with the same Church teachings.

  Beyond that, Starkey’s complaint indicates she not only engaged in conduct prohib-

  ited by the Church’s teachings on sexuality, but also rejects the teachings (and the

  Archdiocese’s application of those teachings) themselves. Compl. ¶ 38 (“Starkey

  asked why gay marriage was such a hot button issue.…”); Compl. ¶ 60 (Starkey “op-

  pos[ed] … Defendants’ actions towards Fitzgerald”).

     And indeed, the court in Our Lady’s Inn recently reached the same conclusion

  regarding Catholic school employees who reject other Church teachings—there, the

  Church’s teachings on abortion. The court held that freedom of association protected

  the Archdiocese of St. Louis’s elementary schools from liability under a city ordinance

  prohibiting employment discrimination on the ground of “reproductive health deci-

  sions,” because forcing the schools to hire “teachers or other staff who do not adhere

  to [their] values”—including the “the Catholic Church’s longstanding and widely

  known opposition to abortion”—would significantly affect [their] ability to advocate

  their viewpoints, through … teachers and staff, to their students.” 349 F. Supp. 3d at


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  813, 820-22.

     So too here. Just as political parties, parades, private clubs, and the Boy Scouts

  can exclude those who interfere with their message (Lopez Torres, Hurley, Dale), and

  just as the Archdiocesan Elementary Schools of the Archdiocese of St. Louis can de-

  cline to hire teachers and staff who disagree with the Church on abortion (Our Lady’s

  Inn), the Archdiocese here can decline to renew the contract of a guidance counselor

  who rejects its core teachings on human sexuality.
        D. Constitutional avoidance requires dismissal of Starkey’s federal
           claims.
     Even if it were unclear whether entertaining Starkey’s claims would violate the

  First Amendment (and it isn’t), those claims at least present “serious constitutional

  questions”—so constitutional avoidance requires the Court to interpret Title VII and

  Title IX narrowly to avoid having to reach them. Catholic Bishop, 440 U.S. at 501.

     In Catholic Bishop, the Court considered whether the National Labor Relations

  Act gave the NLRB jurisdiction over lay faculty members at Catholic schools. 440

  U.S. at 491. Noting that the Religion Clauses could be violated by “the very process

  of inquiry” necessary to resolve labor charges against religious schools, the Court con-

  cluded that “serious First Amendment questions” would follow from finding jurisdic-
  tion. Id. at 502, 504. Thus, the Court held that the statute should be interpreted nar-
  rowly to avoid that result unless there was “clear expression of an affirmative inten-

  tion of Congress” to require it. Id. at 504; see also id. at 504-07 (finding none); Curay-

  Cramer, 450 F.3d at 137-42 (applying Catholic Bishop in interpreting federal nondis-

  crimination law not to require courts “to measure the degree of severity of various

  violations of Church doctrine”); Duquesne Univ. of the Holy Spirit v. NLRB, 947 F.3d

  824, 829 (D.C. Cir. 2020) (“Given this vital role played by teachers, exercising juris-

  diction over disputes involving teachers at any church-operated school presented a

  ‘significant risk that the First Amendment will be infringed.’” (quoting Catholic



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  Bishop, 440 U.S. at 502)).

     Here, applying Title VII and Title IX to require a Catholic school to retain a guid-

  ance counselor who “repudiat[es] Catholic doctrine” on human sexuality would, at

  minimum, give rise to serious constitutional questions under the First Amendment’s

  protection of religious autonomy, the prohibition on government entanglement in re-

  ligious questions, and freedom of association. Curay-Cramer, 450 F.3d at 140. So

  those statutes must be read narrowly to avoid that result absent a clearly expressed,

  affirmative intention of Congress to the contrary. Catholic Bishop, 440 U.S. at 501.

  There is no such intention; rather, as explained above, the statutes exempt employers

  like the Archdiocese from claims like these. Thus, constitutional avoidance, as well

  as the plain text, structure, and history of Title VII, Title IX, and the Religion

  Clauses, require Starkey’s claims to be dismissed on the pleadings.

                                    CONCLUSION

     Judgment should be rendered for the Archdiocese.




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                             CERTIFICATE OF SERVICE

     I certify that a copy of the foregoing has been served upon the following on March

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